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       IT IS ORDERED as set forth below:




       Date: February 3, 2022



___________________________________________________________________________
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